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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW HAMPSHIRE

____________________________________
                                    )
ROBERT FRESE,                       )
                                    )
                 Plaintiff          )
                                    )
        v.                          )               Civil No. 1:18-cv-1180-JL
                                    )
GORDON J. MacDONALD,                )
in his official capacity only as    )
Attorney General of the State       )
of New Hampshire,                   )
                                    )
                 Defendant          )
____________________________________)

                      MEMORANDUM OF LAW IN SUPPORT OF
                     MOTION TO DISMISS AMENDED COMPLAINT

       Defendant Gordon J. MacDonald, in his official capacity only as Attorney General of the

State of New Hampshire, by and through his counsel, the Office of the Attorney General, presents

the following Memorandum of Law in support of his accompanying Motion to Dismiss the

Amended Complaint [Doc. # 31] filed by the Plaintiff, Robert Frese (“Mr. Frese”):

                                          Introduction

       Plaintiff Robert Frese (“Mr. Frese”) alleges that he is an “outspoken” individual who has

twice in the course of six years been charged with criminal defamation under RSA 644:11, which

declares that one is “guilty of a class B misdemeanor if he purposely communicates to any person,

orally or in writing, any information which he knows to be false and knows will tend to expose any

other living person to public hatred, contempt or ridicule.” RSA 644:11, I [Criminal Defamation]

(emphases supplied) (the “Criminal Defamation Statute”). See Amended Complaint, passim.




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Pursuant to RSA 651:2, III, IV [Sentences and Limitations], a person convicted of a Class B

misdemeanor may be sentenced to pay a fine not to exceed $1,200, but may not be incarcerated.

       While acknowledging, as he must, that “deliberately false and defamatory statements of

fact are not protected by the First Amendment,” Amended Complaint ¶ 38, Mr. Frese asks this

Court, in Count I of his Amended Complaint, to declare that the Criminal Defamation Statute is

vague both on its face and as applied, contrary to the Fourteenth Amendment, and that it therefore

“‘inhibits the exercise of [his First Amendment] freedoms.’” Id. ¶ 36, quoting Grayned v. City of

Rockford, 408 U.S. 104, 109 (1972).        He further contends, in Count II, that the Criminal

Defamation Statute is unconstitutional under the First Amendment, because it “criminalizes

defamatory speech,” id. ¶ 44, and because it “criminalizes speech criticizing public officials” Id.

¶ 45. He then asks that the Court (a) “permanently restrain and enjoin [Attorney General

MacDonald]” and such other law enforcement officers who may work “in active concert or

participation with [him] … from enforcing [the Criminal Defamation Statute],” id., Prayer B, and

(b) award him the attorney’s fees and costs that he will incur in this endeavor. Id., Prayers C, D.

                         The Facts Alleged in the Amended Complaint

       A.      The Hudson Charge and Conviction

       Between February 26 and May 2, 2012, Mr. Frese made “over thirty postings” on

Craigslist, lambasting the character and integrity of Mr. Michael Robillard, a certified life coach

who promoted his business, Mike Robillard Life Coaching, on that same public Internet forum.

Mr. Frese’s postings included the following:

       been molested by Mike Robillard?
       (Londonderry)

       Has anyone been molested, bothered, or harassed by a Mike Robillard in
       Londonderry?



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       and

       hear about Mike Robillard? (NH)

       Involved in a ‘road rage’ incident in 2007
       distribution of heroin in 2009
       charged with willful concealment in 2011
       sounds like Mike needs a Life Coach

Amended Complaint, Exhibit B at HUD 13-14, 21-22, 24-25, 62-64. As his efforts to persuade

Mr. Frese to desist proved fruitless, id. at HUD 40-46, Mr. Robillard contacted the Hudson Police

Department which, in turn, learned upon inquiry of Mr. Frese, that he purposely posted information

that he knew to be false and that he did so with a view toward soiling Mr. Robillard’s good name,

thereby damaging his business. Id. at HUD 14, 22, 27, 29-76. The Hudson Police Department

charged Mr. Frese under the Criminal Defamation Statute. Id. at 3-4, 10, 12. On August 3, 2012,

Mr. Frese appeared before Hon. Thomas E. Bamberger in the 9th Circuit – District Division –

Nashua. Judge Bamberger received Mr. Frese’s plea of guilty to the charge, entered a finding of

guilty and sentenced him to a fine, suspending most of it on conditions of good behavior and

continued engagement with Seacoast Mental Health. Id. at HUD 4-5.

       Mr. Frese does not now contend, by the instant Amended Complaint, that as an

“outspoken” individual, he (a) merely called things as he saw them or (b) was unaware that casting

Mr. Robillard, among other knowing falsehoods, as a heroin dealer would tend to subject his victim

to “public hatred, contempt or ridicule.” See RSA 644:1, I.

       B.      The Exeter Charge and Its Voluntary Dismissal Two Weeks Later

       Six years after his Hudson conviction, Mr. Frese read a May 4, 2018 article in the Exeter

News-Letter (“Retiring Exeter officer’s favorite role: mentoring youth”) that portrayed retiring

Exeter Police Officer Dan D’Amato in a favorable light. Amended Complaint, Exhibit C Part 1 at



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EXE 19-21, 25-27, 31, 67; Complaint, Exhibit C Part 2 at 67, 94-98. On that same day, Mr. Frese,

who had virtually continuous exposure to the Exeter Police Department from 2002 to 2018, id. at

EXE 58-64, published an online comment under the pseudonym “Bob William,” stating, as to the

heralded officer and youth mentor:

       This is the dirtiest most corrupt cop I have ever had the displeasure of knowing, he
       has committed perjury, false charges, conspiracy, false reports to law enforcement,
       along with his known prostitute daughter who went by the name Isabella Soprano
       and now goes by the name Angela Greene. Although the truth came out in court
       he and she were never charged as the ‘Blue Wall’ of police cover up protected him,
       and the coward Chief Shupe did nothing about it. D’Amato has nothing to be proud
       of and will be missed by no one. I picked up his drunk wife on a number of
       occasions and got her home safely. Good riddance to this creep.

Amended Complaint, Exhibit C Part 2 at EXE 91. After Chief Shupe prevailed upon the Exeter

News-Letter to remove the “Bob William” comment, id. at EXE 084-85, Mr. Frese submitted

another comment, now under the nom de plume “Bob Exeter,” stating, in part:

       D’Amato is the most corrupt cop I have known. He and his known prostitute
       daughter Isabella Soprano who now goes by the name Angela Greene made false
       complaints against me which were dismissed in court. The coward Chief Shupe
       did nothing about it and covered up for this dirty cop. This is the most corrupt
       bunch of cops I have ever known that they continue to lie in court and harass people.
       D’Amato will be missed by no one, and I would not trust this guy around children
       or anyone else.

Id. at EXE 92; see also, id. at EXE 93.

       During a recorded interview at the Exeter Public Safety Complex, Mr. Frese revealed no

information suggesting knowledge that his online comments were false. Amended Complaint,

Exhibit C Part 1 at EXE 20, 26. To the contrary, he insisted they were true. Id. Indeed, Mr. Frese

contended that “other than Ofc. Gagnon[,] every cop from Exeter he has been in court with has

lied” and that Chief Shupe “covered up for D’Amato and his daughter.” Id. Still, on the apparent

strength of Chief Shupe’s denial that any sort of cover up of D’Amato criminality, if any, had




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taken place, and in the absence of additional evidence, see id., an Exeter Police Detective executed

a May 23, 2018 Complaint under the Criminal Defamation Statute, charging that Mr. Frese:

       purposely communicated on a public website, in writing, information which he
       knows to be false and knows will tend to expose another person to public contempt,
       by posting that Chief Shupe covered up for a dirty cop.

Id. at EXE 029. Mr. Frese was scheduled to be arraigned before the 10th Circuit Court – District

Division – Brentwood on July 10, 2018. Id.

       Twelve (12) days later, on June 4, 2018, the Attorney General’s Civil Rights Unit prepared

a six-page Memorandum, stating that the Criminal Defamation Statute met and indeed exceeded

the “actual malice” standard set forth in New York Times v. Sullivan, 376 U.S. 254 (1964) (civil)

and Garrison v. Louisiana, 379 U.S. 64 (1964) (criminal),1 discussed infra, but that in Mr. Frese’s

case, there was no “probable cause … that he made the statements at issue [– that D’Amato was

“dirty” and that Shupe covered it up –] with knowledge that they were false.”             Amended

Complaint, Exhibit C Part 1 at EXE 11. Three days later, on June 7, 2018, the Exeter Police

Department voluntarily dismissed the charge. Amended Complaint ¶25.

                                    The Standards of Review

       A.      Fed. R. Civ. P. 12(b)(1) [lack of subject matter jurisdiction]

       “When a district court considers a 12(b)(1) motion [here, on Article III standing grounds],

it must credit the plaintiff’s well-pled factual allegations and draw all reasonable inferences in

plaintiff’s favor.” Merlonghi v. United States, 620 F.3d 50, 54 (1st Cir. 2010), citing Valentin v.

Hospital Bella Vista, 254 F.3d 358, 363 (1st Cir. 2001). “The district court may also ‘consider



1
 The Civil Rights Unit’s Memorandum pointed out that the Criminal Defamation Statute required
a purposeful communication made with knowledge of (a) its falsity and (b) its “tend[ency] to
expose” the victim to “to public hatred, contempt or ridicule,” RSA 644:1, I, and thus did not adopt
“the Garrison definition of ‘actual malice’ in its entirety, omitting ‘with reckless disregard of
whether it was false or not.’” Amended Complaint, Exhibit C Part 1 at EXE 11.
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whatever evidence has been submitted, such as the depositions and exhibits submitted.’” Id.,

quoting Aversa v. United States, 99 F.3d 1200, 1210 (1st Cir. 1996).

        B.      Fed. R. Civ. P. 12(b)(6) [failure to state a claim]

        “To survive a motion to dismiss” under Fed. R. Civ. P. 12(b)(6), “a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009), quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544,

570 (2007); Sepúlveda-Villarini v. Dep’t of Educ., 628 F.3d 25, 29 (1st Cir. 2010) (“The make-or-

break standard … is that the combined allegations, taken as true, must state a plausible, not merely

a conceivable, case for relief.”). “A claim has facial plausibility when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged,” requiring the plaintiff to show “more than a sheer possibility that a defendant

has acted unlawfully.” Iqbal, 556 U.S. at 678, citing Twombly, 550 U.S. at 556.

        A plaintiff must state facts in support of “each material element necessary to sustain

recovery under some actionable legal theory.” Campagna v. Mass. Dep’t. of Envtl. Prot., 334 F.3d

150, 155 (1st Cir. 2003). But, a “plaintiff’s obligation to provide the grounds of his entitlement to

relief requires more than labels and conclusions, and a formulaic recitation of the elements of a

cause of action will not do[.]” Twombly, 550 U.S. at 555 (internal quotations omitted) (emphasis

supplied). The court should “reject unsupported conclusions or interpretations of law.” Estate of

Bennett v. Wainwright, 548 F.3d 155, 162 (1st Cir. 2008).

        If, upon stripping out the factually unsupported “labels and conclusions,” the allegations

in the complaint, taken as true, fail to state a cognizable claim for relief, the motion to dismiss

should be granted. See Rivera v. Rhode Island, 402 F.3d 27, 33 (1st Cir. 2005).




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                                             Argument

       I.       Mr. Frese lacks standing to bring his claims.

       Article III of the Constitution ensures that federal courts are not ‘roving commissions

assigned to pass judgment on the validity of the nation’s laws,’ but instead address only specific

“cases” and “controversies.’” Thomas v. City of Baxter Springs, 369 F. Supp.2d 1291, 1295 (D.

Kan. 2005), quoting Citizens Concerned for Separation of Church and State v. City and County of

Denver, 628 F.2d 1289, 1295 (10th Cir. 1980). Thus, the Court should dismiss this lawsuit,

pursuant to Fed. R. Civ. P. 12(b)(1) [lack of subject matter jurisdiction], because “accept[ing] as

true all well-pleaded factual averments in [his] … [amended] complaint and indulg[ing] all

reasonable inferences therefrom in his favor[,]” Katz v. Pershing, LLC, 672 F.3d 64 (1st Cir. 2012),

quoting Deniz v. Mun’y of Guaynabo, 285 F.3d 142, 144 (1st Cir. 2002), Mr. Frese has failed to

set forth facts that meet his burden of establishing the requirement of standing – i.e., a “case[ ]” or

“controvers[y]” under Article III, Section 2, Clause 1 of the United States Constitution. See Raines

v. Byrd, 521 U.S. 811, 818 (1997) (“[plaintiff], based on [his] complaint, must establish that [he]

ha[s] standing to sue.”); Blum v. Holder, 744 F.3d 790, 795 (1st Cir. 2014), quoting Clapper, 568

U.S. 398, 411-12 (2013) (“‘[t]he party invoking federal [court] jurisdiction bears the burden of

establishing standing.’”).

       In order to establish standing, Mr. Frese’s Amended Complaint must have “‘alleged such

a personal stake in the outcome of th[is] controversy as to warrant [his] invocation of federal court

jurisdiction and to justify exercise of the court’s remedial powers on his behalf.’” Warth v. Seldin,

422 U.S. 490, 498-99 (1975), quoting Baker v. Carr, 396 U.S. 186, 204 (1962). The Amended

Complaint must show “an injury [that is] ‘concrete, particularized, and actual or imminent[.]’”

Clapper, 568 U.S. at 409, quoting Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 149



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(2010). Simply put, “[a] threatened injury must be ‘certainly impending’” and “[a]llegations of

possible future injury do not satisfy the requirements of Article III.” Whitmore v. Arkansas, 495

U.S. 149, 158 (1990), quoting Babbitt v. Farm Workers, 442 U.S. 289, 298 (1979).

       In Mangual v. Rotger-Sabat, 317 F.3d 45 (1st Cir. 2003), the First Circuit addressed the

matter of pre-enforcement standing to assert First Amendment challenges to criminal legislation,

specifying “two types” of qualifying “injuries”:

       In challenges under the First Amendment, two types of injuries may confer Article
       III standing without necessitating that the challenger actually undergo a criminal
       prosecution. The first is when “the plaintiff has alleged an intention to engage in
       a course of conduct arguably affected with a constitutional interest, but
       proscribed by [the] statute, and there exists a credible threat of prosecution.”
       Babbitt v. United Farm Workers Nat’l Union, 442 U.S. 289, 298 (1979). *** The
       second type of injury is when a plaintiff is “chilled from exercising her right to free
       expression in order to avoid enforcement consequences.” N.H. Right to Life PAC v.
       Gardner, 99 F.3d 8, 13 (1st Cir. 1996).

Id. at 56 (emphasis supplied). Both Mr. Frese, in his Objection [Doc. # 14] to the original Motion

to Dismiss [Doc. # 11], and the Court, in its October 25, 2019 Order [Doc. # 19] denying that

motion, acknowledge that this case concerns only the first type of pre-enforcement standing. See

Objection [Doc. # 14] at 4; Oct. 15, 2019 Order [Doc. # 19] at 11.

       Mr. Frese’s claim of standing does not leave the gate, as deliberately false and defamatory

speech, the only “conduct … proscribed by [RSA 644:11, the ‘Criminal Defamation Statute’],” is

not even “arguably affected with a constitutional interest.” Babbitt, 442 U.S. at 298 (emphasis

supplied); Amended Complaint [Doc. # 1] ¶ 38 (conceding that “deliberately false and defamatory

statements of fact are not protected by the First Amendment….”); see United States v. Alvarez,

567 U.S. 709, 717-19 (2012) (false speech alone is protected; but false and defamatory speech,




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like fraud, true threats and perjury, falls outside the protection of the First Amendment). 2 The

cases previously cited by Mr. Frese in support of his claim of standing – Babbit, Mangual, and

Susan B. Anthony List – do not support his position.

       In Babbitt, the United Farm Workers (“UFW”) challenged the Arizona Agricultural

Employment Relations Act, which criminalized non-defamatory speech promoting consumer

boycotts of agricultural products (i.e., “[i]nduc[ing] or encourag[ing] the ultimate consumer of any

agricultural product to refrain from purchasing, consuming or using such agricultural product by

the use of dishonest, untruthful and deceptive publicity.”).3 Babbitt, 442 U.S. at 301. There could

be no doubt that, unlike Mr. Frese, the UFW had standing because its arsenal for the advancement

of farm laborers’ interests included the encouragement of consumer boycotts (e.g., the lettuce and

grape boycotts). Indeed, the UFW “intend[ed] to engage in a course of conduct arguably [read:

certainly] affected with a constitutional interest, but proscribed by [the] statute.” Babbitt, 442 U.S.

at 298; see Alvarez, 567 U.S. at 717 (Stolen Valor Act, criminalizing false declaration that one is

a Congressional Medal of Honor recipient, invalidated because “[a]bsent from those few categories



2
  It is worthy of incidental note that the Amended Complaint, citing Hustler Magazine v. Falwell,
485 U.S. 46 (1988), offers the fleeting suggestion that “even false and defamatory statements may
be protected speech if they constitute satire, parody, or rhetorical hyperbole.” Amended Complaint
¶ 37. Hustler concerned a “‘parody’ of an advertisement for Campari Liqueur that contained the
name and picture of [Reverend Jerry Falwell] and was entitled ‘Jerry Falwell talks about his first
time.’” Hustler, 485 U.S. at 48. It identified Reverend Falwell as the issue’s “featured celebrity”
and included an “alleged ‘interview’ with him in which he state[d] that his ‘first time’ was during
a drunken incestuous rendezvous with his mother in an outhouse.” Id. The parody, aimed at
calling Reverend Falwell out as a “hypocrite,” included “the disclaimer, ‘ad parody—not to be
taken seriously.’” Id. Further, “[t]he magazine's table of contents also list[ed] the ad as “Fiction;
Ad and Personality Parody.” Id. The Court stated that Hustler Magazine had not engaged in false
and defamatory speech because “that speech could not reasonably have been interpreted as stating
actual facts” about Reverend Falwell. Id. at 50. Simply put, while the Criminal Defamation Statute
addresses false and defamatory statements of fact, knowingly made, Hustler does not.
3
 Violation of the Act, a class 1 misdemeanor, carried a term of imprisonment of up to six months.
Babbitt, 442 U.S. at 301, citing Ariz. Rev. Stat. Ann. § 23-1392.
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where the law allows content-based regulation of speech [e.g., deliberately false and defamatory

statements, fraud, perjury], is any general exception to the First Amendment for false

statements.”).

       Unlike Mr. Frese, the Plaintiff in Mangual did not seek standing under Babbitt, but rather

under the rubric set forth in N.H. Right to Life, wherein one is “chilled from exercising [his] right

to free expression in order to avoid enforcement consequences.” Mangual, 317 F.3d at 57-58,

citing N.H. Right to Life PAC v. Gardner, 99 F.3d 8, 13 (1st Cir. 1996). Still, Mr. Mangual would

have satisfied the standing requirements of Babbitt because he challenged a Puerto Rico Libel Law

that criminalized constitutionally protected truthful speech. See Garrison, v. Louisiana, 379 U.S.

64, 72 (1964) (“[T]he interest in private reputation is overborne by the larger public interest,

secured by the Constitution, in the dissemination of truth.”), citing State v. Burnham, 9 N.H. 34,

42 (1837) (“If upon a lawful occasion for making a publication, he has published the truth, and no

more, there is no sound principle which can make him liable, even if he was actuated by express

malice.”).

       Tomás De Jesús Mangual, a reporter assigned to investigate public corruption, challenged

Puerto Rico’s Libel Law, which prescribed criminal penalties – up to six months in prison – for

those who would “publicly dishonor … a natural or juridical person” or “blacken the memory of

one who is dead.” Mangual, 317 F.3d 45, 51 (1st Cir. 2014), citing 33 P.R. Laws Ann. § 4101

[Libel]. The speech need not have been false for the prosecution to make out its prima facie

criminal case. Id. Further, as noted by the First Circuit, § 4102 [Truth as defense] of the Libel

Law “[d]id not permit an unqualified affirmative defense of truth, but only [did] so if the victim

‘[was] a public officer,’” and even then, only if “‘the charge made refer[red] to the performance

of his duties.’” Id. at 67, quoting 33 P.R. Laws Ann. § 4102. “Otherwise, truth [was] only a defense



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if the [speaker] ‘had good intention and justifiable ends.’” Id. The Court concluded that “[t]he

section 4102 defense of truth [was] not broad enough to encompass all constitutionally protected

statements[,]” so that it was “constitutionally deficient.” Id. That is to say, unlike the Criminal

Defamation Statute, the Puerto Rico Libel Law would punish the truthful statements that

investigative reporter Mangual might publish – i.e., protected speech under the First Amendment.

See Garrison, 379 U.S. at 72. Simply put, unlike Mr. Frese, Mr. Mangual would have had standing

under Babbitt because he “intend[ed] to engage in a course of conduct arguably [again, read:

certainly] affected with a constitutional interest, but proscribed by [the] statute.” Babbitt, 442 U.S.

at 298.

          In Susan B. Anthony List v. Driehaus, 573 U.S. 149 (2014), political advocacy

organizations challenged an Ohio law that criminalized false statements about candidates during

political campaigns. The relevant provisions of Ohio Rev. Code Ann. § 3517.21(B) [Unfair

Political Campaign Activities] “ma[d]e it a crime for any person to ‘[m]ake a false statement

concerning the voting record of a candidate or public official,’ § 3517.21(B)(9), or to ‘[p]ost,

public, circulate, distribute, or otherwise disseminate a false statement concerning a candidate,

either knowing the same to be false or with reckless disregard of whether it was false or not,’ §

3517.21(B)(10).” Id. at 152. Violation of the Ohio false statement statute was punishable by,

among other things, up to six months in prison. Id. at 153, citing Ohio Rev. Code Ann. §§ 3599.40,

3517.992(V). A second offense commanded disenfranchisement. Id., citing Ohio Rev. Code Ann.

§§ 3599.39.

          Without doubt, the Ohio law swept in all manner of speech that, while false, was not

defamatory. See Alvarez, 567 U.S. at 717. That is to say, the law criminalized protected speech.

The Supreme Court found that the advocacy organizations had pre-enforcement standing to



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challenge the law because, unlike Mr. Frese, they “intended future conduct … [that was] certainly

‘affected with a constitutional interest[,]’” but proscribed by the statute. Id. at 162 (emphasis

supplied), quoting Babbitt, 442 U.S. at 298.

       Unlike the laws in Babbit, Mangual, and Susan B. Anthony List, the Criminal Defamation

Statute – proscribing the “purposeful communication” of “information [that the speaker] knows to

be false and knows will tend to expose any other living person to public hatred, contempt or

ridicule” – does not sweep in speech that is, by any measure, “arguably affected with a

constitutional interest.” Id.; Alvarez, 567 U.S. at 717-19. As a consequence, Mr. Frese cannot

satisfy the Babbitt test on which he avowedly relies for pre-enforcement standing. Thus, he cannot

meet his burden of establishing the requirement of standing – i.e., a case or controversy under

Article III, Section 2, Clause 1 of the United States Constitution – and the case must be dismissed.

See Raines v. Byrd, 521 U.S. 811, 818 (1997) (“[plaintiff], based on [his] complaint, must establish

that [he] ha[s] standing to sue.”); Blum v. Holder, 744 F.3d 790, 795 (1st Cir. 2014), quoting

Clapper v. Amnesty International USA, 568 U.S. 398, 411-12 (2013) (“‘[t]he party invoking

federal [court] jurisdiction bears the burden of establishing standing.’”).

       II.     First Circuit precedent precludes Mr. Frese from maintaining facial or as-
               applied void-for-vagueness claims under the Fourteenth Amendment.

       In Count I of his Amended Complaint, styled as “42 U.S.C. § 1983 – DUE PROCESS

CLAUSE,” Mr. Frese brings what purport to be facial and as-applied challenges to the Criminal

Defamation Statute on vagueness grounds under the Fourteenth Amendment Due Process Clause.

See Amended Complaint ¶ 36 (“RSA 644:11 is unconstitutionally vague, both on its face and as

applied in the context of New Hampshire’s system for prosecuting Class B Misdemeanors.”)

(emphasis supplied). In Draper v. Healey, 827 F.3d 1 (1st Cir. 2016), the First Circuit held, in an

opinion written by Justice Souter, that a claim that a statute is “vague in violation of due process”

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is “eligible only for as-applied, not facial, review.” Id. at 3, citing United States v. Zhen Shou Wu,

711 F.3d 1, 15 (1st Cir. 2013) (“Outside of the First Amendment context, we consider whether a

statute is vague as applied to the particular facts at issue . . . .” ) (emphasis in original). This

holding necessarily precludes Mr. Frese’s facial claim under the Fourteenth Amendment, and

Count I must be dismissed to the extent it advances such a claim.

       Count I further fails to advance a viable as-applied vagueness claim under the Fourteenth

Amendment. As noted, the First Circuit held in Zhen Shou Wu that “[o]utside the First Amendment

context, we consider ‘whether a statute is vague as applied to the particular facts at issue,’ for a

defendant ‘who engages in some conduct that is clearly proscribed cannot complain of the

vagueness of the law as applied to the conduct of others.’” 711 F.3d at 15, quoting Holder v.

Humanitarian Law Project, 561 U.S. 1, 18–19 (2010).4 In Count I, Mr. Frese does not allege that

RSA 644:11 is unconstitutional as applied to him, but rather “as applied in the context of New

Hampshire’s system for prosecuting Class B misdemeanors.” Amended Complaint ¶ 36. He goes

on to allege that “it is often almost impossible for a [hypothetical] speaker to determine in advance

whether their speech would be considered unprotected defamation or protected expression.” Id. ¶

38. Mr. Frese has therefore failed to state a viable as-applied vagueness challenge under the

Fourteenth Amendment, as set forth in Zhen Shou Wu. Accordingly, Count I must also be

dismissed to the extent it purports to bring such a challenge.




4
 There are no “particular facts” as to Mr. Frese that may be deemed to be “at issue” in this case,
as the Amended Complaint does not present facts suggesting he is presently in jeopardy on account
of speech that is the subject of a pending charge under the Criminal Defamation Statute.
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       III.    Count II of the Amended Complaint fails to state a facial void-for-vagueness
               claim under the First Amendment.

       As discussed in Saucedo v. Gardner, 335 F. Supp. 3d 202 (D.N.H. 2018), “‘[t]he Supreme

Court has articulated two formulations of the standard for assessing facial challenges to statutes.’”

Id. at 213, quoting Libertarian Party of N.H. v. Gardner, 843 F.3d 20, 24 (1st Cir. 2016). These

“two formulations” are laid out as follows:

       In United States v. Salerno, 481 U.S. 739 (1987), the Court held that a facial
       challenge can only succeed where the plaintiff ‘establishes that no set of
       circumstances exists under which the Act would be valid.’ Id. Alternatively, a
       plaintiff bringing a facial challenge to a statute must establish that it lacks any
       ‘plainly legitimate sweep.’ Hightower v. City of Boston, 693 F.3d 61, 77 (1st Cir.
       2012). The First Circuit recently relied on the latter formulation in a ballot-access
       case. See Gardner, 843 F.3d at 24. But see Pharm. Research & Mfrs. of America
       v. Concannon, 249 F.3d 66 (1st Cir. 2001) (citing Salerno test favorably).

Id. (emphasis supplied).

       The Saucedo Court observed, however, that “[t]hese standards may obscure the relevant

inquiry …, as they could be taken to suggest that a court’s task is to ‘conjure up’ hypothetical

situations ‘in which application of the statute might be valid.’” Id., quoting United States v. Sup.

Ct. of N.M., 839 F.3d 888, 917 (10th Cir. 2016). “But, as courts have noted, the Supreme Court

‘has often considered facial challenges simply by applying the relevant constitutional test to the

challenged statute, without trying to dream up whether or not there exists some hypothetical

situation in which application of the statute might be valid.’” Id., quoting Bruni v. City of

Pittsburgh, 824 F.3d 353, 363 (3d Cir. 2016) (collecting cases) (emphasis supplied).

       Thus, “‘[a] facial challenge is best understood as a challenge to the terms of the statute,

not hypothetical applications, and is resolved simply by applying the relevant constitutional test

to the challenged statute.’” Saucedo, 336 F. Supp. 3d at 214 (emphasis supplied). That is to say,

it is immaterial whether discretionary judgments on enforcement of the challenged statute are made



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by police prosecutors, by county attorneys or by the Office of the Attorney General. See Agnew

v. Government of the District of Columbia, 920 F.3d 49, 60 (D.C. Cir. 2019) (“A law may …

require law enforcement officers to use their discretion without being unconstitutionally vague.

Enforcing criminal laws necessarily ‘requires the exercise of some degree of police judgment.’”),

quoting Grayned, 408 U.S. at 113. For that matter, the statute’s validity does not depend on

whether it is enforced in New Hampshire or in Illinois, New York or Idaho. What is exclusively

at issue is “the terms of the statute,” id., which may be “unconstitutionally vague if, applying the

rules for interpreting legal texts, its meaning ‘specifie[s] no standard of conduct … at all.’” United

States v. Bronstein, 849 F.3d 1101, 1108 (D.C. Cir. 2017) (upholding a criminal prohibition against

“mak[ing] a harangue or oration, or utter[ing] loud, threatening or abusive language in the Supreme

Court Building or grounds”), quoting Coates v. Cincinnati, 402 U.S. 611, 614 (1971) and citing

Village of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 495 n. 7 (1982)

(“setting forth the distinction articulated in Coates as describing what ‘the complainant must

prove’ *** to ‘sustain such a challenge’”).

       In Bronstein, the defendants were charged with violating 40 U.S.C. § 6134, styled as

“Firearms, fireworks, speeches, and objectionable language in the Supreme Court Building and

grounds,” which declares:

       It is unlawful to discharge a firearm, firework or explosive, set fire to a combustible,
       make a harangue or oration, or utter loud, threatening or abusive language in the
       Supreme Court Building or grounds.

Id. at 1103-04. The charges arose out of dissident political speech uttered on “April Fools Day of

2015,” after the U.S. Supreme Court was gaveled into session for oral argument, when the

Bronstein defendants rose from their seats in the courtroom and declared,

          “We rise to … Money is not speech. One person, one vote!”


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          “Justices, is it not your duty to protect our right to self-government? The first
           … overturn Citizens United. One person one vote.”

          “Justices, is it not your job to ensure free, fair elections?” and

          in song, “We who believe in freedom shall not rest; we who believe in freedom
           shall not rest.”

Id. at 1104-05. Upon a challenge by the defendants, the district court, among other things, “struck

the[ ] words [‘harangue’ and ‘oration’] from § 6134 as unconstitutionally vague.” Id. at 1105-06.

       Reversing the district court order, the D.C. Circuit stated:

          “Whether ‘harangue” or ‘oration’ is unconstitutionally vague within § 6134
           involves only ‘pure questions of law.’” Id. at 1106 (emphasis supplied), citing
           Hodge v. Talkin, 799 F.3d 1145, 1149 (D.C. Cir. 2015).

          “A law is vague when ‘it fails to give ordinary people fair notice of the conduct
           it punishes or [is] so standardless that it invites arbitrary enforcement.’” Id.,
           citing Johnson v. United States, ___ U.S. ___, 135 S. Ct. 2551, 2556 (2015).

          “To provide fair ‘fair notice,’ ‘[g]enerally, a legislature need do nothing more
           than enact and publish the law, and afford the citizenry a reasonable opportunity
           to familiarize itself with its terms and to comply. Id. at 1107, quoting Texaco,
           Inc. v. Short, 454 U.S. 516, 532 (1982).

          “‘Even trained lawyers may find it necessary to consult legal dictionaries,
           treatises, and judicial opinions before they may say with any certainty what
           some statutes may compel or forbid. All the Due Process Clause requires is
           that the law gives sufficient warning that men may conduct themselves so as to
           avoid that which is forbidden.’” Id., quoting Rose v. Locke, 423 U.S. 48, 50
           (1975).

          “As far as we can tell, no Supreme Court decision has ever struck a statute as
           unconstitutionally vague merely because it uses terms that, at the moment, may
           not be widely used.” Id., citing Peter W. Low and Joel S. Johnson, Changing
           the Vocabulary of the Vagueness Doctrine, 101 Va. L. Rev. 2051, 2055 (2015)
           (“We are aware of no United States Supreme Court case where a statute has
           been held unconstitutionally vague because socialization notice was lacking.”).

          “When interpreting a statutory term, we are not concerned with vagueness in
           the sense that the term ‘requires a person to conform his conduct to an imprecise
           but comprehensible normative standard,’ whose satisfaction may vary
           depending upon whom you ask. See, e.g., Coates, 402 U.S. at 614. Rather, a
           statute is unconstitutionally vague if, applying the rules for interpreting legal

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           texts, its meaning ‘specifie[s]’ ‘no standard of conduct … at all.’” Id.; see
           also Village of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S.
           489, 495 n. 7 (1982); *** Int’l Harvester Co. of Am. v. Kentucky, 234 U.S. 216,
           221 (1914) (holding a law is void for vagueness when it offers no ‘standard of
           conduct that [was] possible to know” (emphasis added in Bronstein)).

Id. at 1106-08 (emphasis in bold type supplied).

       After laying out the foregoing standards of review, the Bronstein Court went on examine

the actual “terms of the statute” – making “harangue[s]” and “oration[s]” unlawful – and found

them to be sufficiently clear (read: constitutional) within the decorum-disturbing context of

neighboring language (e.g., “firearm[s],” “firework[s],” “explosive[s],” and “set[ting] fire to a

combustible”). Id. at 1108-1111 (“The longstanding principles of statutory interpretation hold that

‘a word is known by the company it keeps.’”), quoting Jarecki v. G.D. Searle & Co., 367 U.S.

303, 307 (1961). Viewing the “text of the statute” in context did not permit a departure from the

words of the legislation or an inquiry into the means of its enforcement by the justice system or its

instrumentalities, including police and prosecutors.

       Thus, the proper inquiry in this case is whether the terms of the statute “‘specif[y] no

standard of conduct … at all.’” Bronstein, 843 F.3d at 1108, quoting Coates, 402 U.S. at 614.

New Hampshire’s Criminal Defamation Statute, RSA 644:11, I, which imposes a criminal penalty

only if one:

          “purposely5 communicate[s] to [another] person …information which he knows6 to be
           false and




5
  Under RSA 626:2, II(a) [General Requirements of Culpability – “Purposely”], “[a] person acts
purposely with respect to a material element of an offense when his conscious object is to cause
the result or engage in the conduct that comprises the element.”
6
 Under RSA 626:2, II(b) [General Requirements of Culpability – “Knowingly”], “[a] person acts
knowingly with respect to conduct or to a circumstance that is a material element of an offense
when he is aware that his conduct is of such a nature or that such circumstances exist.”
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          knows will tend to expose [a] living person to public hatred, contempt or ridicule[,]”

is clear in meaning to the “ordinary person.” Bronstein, 849 F.3d at 1107.

       There is no suggestion in Mr. Frese’s Amended Complaint that the words contained within

RSA 644:11, the Criminal Defamation Statute, are indeterminate or elusive, only that the speaker

might not know “the values of the listener,” Amended Complaint ¶ 37, quoting Gottschalk v. State,

575 P.2d 289, 293 (Alaska 1978), who, presented with that speaker’s knowingly false statement,

will tend to view the target/victim with “hatred, contempt or ridicule.” Of course, as discussed in

the Motion for Reconsideration [Doc. # 21] and the antecedent Motion to Dismiss [Doc. # 11], a

speaker who does not know “the values of the listener” (i.e., that the knowingly false statement

“will tend to expose [the target] to public hatred, contempt or ridicule”) is not subject to criminal

liability under the Criminal Defamation Statute.7

       It is therefore clear that Mr. Frese’s Amended Complaint fails to state a facial void-for-




7
  Putting aside that the “terms of the [Criminal Defamation] statute” are neither indeterminate nor
elusive, “‘[the] requirement of the presence of culpable intent as a necessary element of the offense
does much to destroy any force in the argument’ that [the law] is too vague to be constitutionally
enforceable.” U.S. v. Collins, 272 F.3d 984, 988-89 (7th Cir. 2001), quoting Boyce Motor Lines,
Inc. v. United States, 342 U.S. 337, 342 (1952); see also, Hoffman Estates, 455 U.S. at 499 (“[T]he
[Supreme] Court has recognized that a scienter requirement may mitigate a law’s vagueness,
especially with respect to the adequacy of notice to the complainant that his conduct is
proscribed.”), citing Boyce, 342 U.S. at 342; U.S. v. Mire, 725 F.3d 665 (7th Cir. 2013) (citing
Boyce, rejecting a void-for-vagueness argument where the criminal law required “knowledge” that
khat, a stimulant plant material, contained a prohibited controlled substance); U.S. v. Klecker, 348
F.3d 69, 71 (4th Cir. 2003) (“The intent requirement alone tends to defeat any vagueness challenge
based on the potential for arbitrary enforcement.”); Thomas v. City of Baxter Springs, 369 F.
Supp.2d 1291, 1295 (D. Kan. 2005) (rejecting a void-for-vagueness challenge to a law imposing
criminal liability if one “communicated … information, knowing the information to be false and
with actual malice, tending to expose another living person to public hatred, contempt or ridicule.”)
(emphasis supplied).

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vagueness claim under the First Amendment.8

        IV.     This Court should reject Mr. Frese’s invitation to overrule Garrison.

        In New York Times v. Sullivan, the Supreme Court stated, in the context of defamation, that

“false statement[s] made with ‘actual malice’ – that is, with knowledge that [they] are false or with

reckless disregard of whether [they are] false or not’” – fall outside the protections of the First

Amendment. United States v. Alvarez, 567 U.S. 709, 719 (2012), quoting New York Times, 376

U.S. at 280. Garrison v. Louisiana extended New York Times, a case for civil defamation, to

criminal defamation cases. Garrison v. Louisiana, 379 U.S. 64, 67 (1964).

        Count II of the Amended Complaint concludes with an invitation to overrule Garrison –

for which there is no authoritative support, other than what is portrayed as a more enlightened

public policy, as witnessed by the law review articles cited therein, including most notably, George

C. Lisby, No Place in the Law: The Ignominy of Criminal Libel in American Jurisprudence, 9

Communication Law and Policy 433 (2004). See Amended Complaint ¶ 9. That article asserts

that the Supreme Court “failed the ideals of the First Amendment miserably forty years ago in

Garrison v. Louisiana when it applied the Sullivan rule to the crime of libel,” id. at 434, and that



8
  In paragraph 46 of his Amended Complaint, Mr. Frese contends: “Alternatively, RSA 644:11 is
unconstitutional as applied to speech criticizing public officials.” This is not, in fact, an alternative
claim, but merely a reiteration of Mr. Frese’s facial challenge to RSA 644:11 under the First
Amendment. This is clear from the immediately preceding paragraph of the Amended Complaint,
where Mr. Frese contends that “RSA 644:11 is unconstitutionally overbroad because it
criminalizes speech criticizing public officials.” Amended Complaint ¶ 45. Under either
formulation, Mr. Frese’s theory is the same: that all speech criticizing public officials is
constitutionally protected, and that RSA 644:11 is unconstitutional insofar as it prohibits that
speech. As explained above, this is a vast overstatement of RSA 644:11’s breadth: it does not
prohibit constitutionally protected criticism of public officials, but rather the purposeful
communication of information that the speaker knows to be false and knows will tend to expose
the target (public official or not) to public hatred, contempt or ridicule – speech that, under
controlling law, is afforded no constitutional protection. See Garrison v. Louisiana, 379 U.S. 64,
67 (1964). Thus, Mr. Frese’s “alternative” claim cannot survive dismissal.

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criminal libel statutes are “antithetical to any and every form of representative government”

because, among other things, they are “a[n] historical ‘throwback to pre-Magna Carta England and

to the common-law principles the monarchy used to justify keeping its heel on critics’ necks.’” Id.

at 438, quoting Timothy Smith, Criminal Libel Case, a Legal Throwback, Divides Community,

WALL ST. J., June 29, 1988, 1, at 17. Of course, “choices of public policy, rather than

constitutional imperatives” are not within this Court’s purview but rather are “matters for

consideration by those with public policy responsibilities, administrators in the Executive Branch

and ultimately law-makers in the Legislative Branch.” U.S. v. Myers, 635 F.2d 932 (2d Cir. 1980).

       Moreover, it is not the prerogative of the District Court to overrule Garrison. See

Rodriguez de Quijas v. Shearson/American Exp., Inc., 490 U.S. 477, 484 (1989) (“If a precedent

of this Court has direct application in a case… the Court of Appeals should follow that case which

directly controls, leaving to this Court the prerogative of overruling its own decisions); U.S. v.

Morosco, 822 F.3d 1, 7 (1st Cir. 2016) (“[B]ecause overruling the Supreme Court precedent is the

Court’s job, not ours, we must follow [] until the Court specifically tells us not to…”); NAACP v.

Medical Center, Inc., 657 F.2d 1322, 1331 (3rd Cir. 1981) (“The prerogative of overruling its cases

rests with the Supreme Court, not with us.”).

                                           Conclusion

       For all of the foregoing reasons, the Amended Complaint should properly be dismissed.




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                                                   Respectfully submitted,

                                                   GORDON J. MACDONALD, in his
                                                   official capacity only as Attorney General
                                                   of the State of New Hampshire

                                                   By his attorney,

                                                   GORDON J. MacDONALD
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                                     Certificate of Service

       I hereby certify that a copy of the foregoing Memorandum of Law was served this 6th

day of May, 2020, on all counsel of record via the ECF System.


                                                    /s/ Lawrence M. Edelman
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